                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )
                                                   )       No. 3:07-CR-44
 V.                                                )       (PHILLIPS/SHIRLEY)
                                                   )
                                                   )
                                                   )
 MARTINA R. GARCIA                                 )

                       ORDER OF DETENTION PENDING TRIAL


               An initial appearance and arraignment were held in this case on November 27,

 2007. Hugh Ward, Assistant United States Attorney, was present representing the

 government, and Leslie Hunt was present representing the defendant. Upon motion of the

 government for detention, and counsel for the defendant stating that the defendant wished

 to waive her right to a detention hearing at this time but reserve the right to have a hearing

 at a later date, if appropriate, the defendant shall be detained. Pursuant to the defendant

 signing a Waiver of Detention Hearing, the defendant is to be detained. 18 U.S.C. §

 3142(f)(1)(C). The government stated it had no objections. The defendant was present. For

 good cause, and by agreement of the defendant, the defendant shall be detained.

               The defendant is aware of her rights to a prompt detention hearing and to

 require the government to meet its burden of proving that no conditions of release exist

 which will reasonably assure her appearance in court and the safety of the community. The

 defendant knows that if her detention hearing is waived she will remain in custody while it


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 is continued. The defendant acknowledged in open court that she understands her rights and

 the consequences of waiving her detention hearing.

              For good cause shown, the defendant’s request not to contest, and to waive the

 detention hearing is hereby GRANTED.

              It is therefore ORDERED that:

              (1)    Defendant be detained.;

              (2)    Defendant be committed to the custody of the Attorney
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal;

              (3)    Defendant be afforded reasonable opportunity for private
                     consultation with counsel; and

              (4)    On order of a court of the United States or on request of an
                     attorney for the government, the person in charge of the
                     corrections facility in which the defendant is confined
                     deliver the defendant to a United States marshal for the
                     purpose of an appearance in connection with any court
                     proceeding.


                                   ENTER:


                                            s/ C. Clifford Shirley, Jr.
                                          United States Magistrate Judge




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